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                EXHIBIT 4
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From:          Peter Curtin
To:            Kyle D. Stroup; Nathan F. Studeny; Jon W. Groza; Jon J. Pinney
Cc:            Yichen Cao; Campbell, Jay R.; Ostrowski, Carter S.; Elliot Mendelson
Subject:       RE: NOCO v. Aukey, et al., 1:20-cv-02322 (ND Ohio) - Deposition Notices
Date:          Thursday, December 21, 2023 10:28:00 PM
Attachments:   Aukey Objections and Responses to NOCO Rule 30(b)(6)Deposition Topics.pdf


Hello Kyle –

As discussed, we have attached a copy of Aukey’s Objections and Responses
Plaintiff’s Notice of Rule 30(B0(6) deposition.

We expect to serve Aukey’s Rule 30(B)(6) Deposition Notice to NOCO
tomorrow.

The parties’ objections and responses to those notices should help clarify and
crystallize the scope of the actual discovery disputes between the parties.

Those disputes, as well as the identification of the parties’ corporate witnesses
and the deposition scheduling itself are topics best reserved for discussion with
my replacement counsel.

Also, as a heads-up -- After more consideration, I expect to only draft and
circulate a proposed [Joint] or [Unopposed] Motion to Stay the existing case
deadlines of the sort discussed on our call today.

Having reviewed NOCO’s December 13th letter brief, which focuses primarily
on three issues, it appears that intervening events [including Aukey’s recent
discovery-related actions and commitments, my Motion to Withdraw as
Counsel, and the planned Motion to Stay the existing case deadlines] have
either mooted those disputes or at least rendered motions practice on them
premature for now.

NOCO may disagree with that assessment, of course, but Aukey will likely
simply file an appropriate response letter by December 27th.

Best Regards –

Peter Curtin
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